U.S. Department of Justice PROCESS RECEIPT AND RETURN

. . See Instructions for “Service of Process by the U.S. Marshal”
. United States Marshals Service on the reverse of this form.

ACR SA U wD Es S COURT CASE NUMBER

 

 

 

 

 

 

 

  

 

 

 

Q)-cv- J} 2UO-AK
DEFENDANT TYPE OF PROCESS
RasAttInD Prorry, e} al- com PLATT A Sumas
SERVE N ENDIVDUA COMPANY, CORPORATION, mE TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
AIRE oN Ahly = =
-.. ADDRESS. (Street or RFD, Apartment No., City, State and ZIP Code) cI. , ~ oD
ar UG PARKER CT Wartck, HA OOO 3B
SEND NOTICE OF SERVIGE COPY T0 REQUESTER ATNAMEAND ADDRESS BELOW: | Unumberofpocessioters. [M+
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L
SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses, All

Telephone Numbers, and Estimated Times Available For Service):
Fold

(C) Go3 - 498 ~ 1112 =
CH) 603 - 664~ 5867
WoRkS AT ft D5 ymAl ST y ORS 14,243 178-795-2500
KBokoued WA O17 179
my or other Origins — oN on behalf of: TePTAINTIFF TELEPHONE NUMBER DATE

C DEFENDANT | G /? -905.- -745Y $O°29727
i as
SPACE BELOW FOR USE OF U.S. MARSHAL ONLY — DO NOT WRITE BELOW THIS LINE

I acknowledge receipt for the total

 

Signature of Atto

   
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

g

as
Total Process} District District Signature of Authorized USMS Deputy or Clerk Date

number of process indicated. of Origin to Serve

(Sign only first USM 285 if more

than one USM 2835 is submitted) No. No. : Ps

I hereby certify and return that [ (1) have personally served, D) have legal evidence of service, 1) have executed as shown in “Remarks”, the proce§lescribed””

on the individual, company, corporation, etc., at the address shown above or on the individual, company, corporation, etc., shown at the address ins below—= *
¥i hereby certify and return that [ am unable to locate the individual, company, corporation, etc., named above (See remarks below)

 

7]
f-: A
OF
Name and title of individual served (if not shown above) A person of suitable agé anddis- i,
C1 cretion then resid in the defgndant’s"
usual place of abode. =~ -y
Address (complete only if different than shawn above) Date of Service | Tift =

 

 

pf2hr a Ye

Signature of YS, hal or De

 

Service Fee

 

Total Mileage Charges | Forwarding Fee

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message No edUN caf

Yon — Dim Blah"
PRIOR EDITIONS _ mo, ! no FORM USM-285 (Rev. 12/15/80)
MAYBEUSED 1. CLERK OF THE COURT . sons Rev. 12/08).

 

 

 

Total Charges | Advance Deposits | Amount owed to UsAMarshal or Amount of Refund

 

 

 

 

 
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Civil Action No.: 1:21-CV-11240-AK

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (D)
This summons for (name of individual and title, if any) 12: nage,

was received by me on (date)

li 1 personally served the summons on the individual at (place)

 

on (date) jor

 

(J | left the summons at the individual's residence or usual place of abode with (name).

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual's last known address; or
II | served the summons on (name of individual) , Who is
designated by law to accept service of process on behalf of (name of organization)

on (datc) ; or

| Other (specify) : _ oe e iin
Crdavir DT miler «A

My fees are $ for travel and $ for services, for a total of $

 

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A; returned the summons unexccuted because ey i

] declare under penalty of perjury that this information is true.

IA17 [aovr

ate Server's Set e

Koa Bind, 20m #2235

Printed name and title

 

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Server's Addregs} S|

Additional information regarding attempted service, etc: Qala Wi
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